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                     UNITED STATES DISTRICT COURT
                    CENTRAL DISTRICT OF CALIFORNIA




      JEFFREY B. SEDLIK,                   CV 21-1102 DSF (MRWx)
               Plaintiff,
                                           ORDER ON RENEWED
                       v.                  MOTION FOR JUDGMENT AS A
                                           MATTER OF LAW AND
      KATHERINE VON                        REQUEST FOR A NEW TRIAL
      DRACHENBERG, et al.,
              Defendants.                  (Dkt. 234)



            Plaintiff Jeffrey B. Sedlik moves for judgment as a matter of law
      and a new trial. Dkt. 234. Defendants Kat von D and High Voltage
      Tattoo oppose. Dkt. 236. The Court deems this matter appropriate for
      decision without oral argument. See Fed. R. Civ. P. 78; Local Rule 7-
      15. For the reasons stated below, the motions are DENIED.

                        I. Judgment as a Matter of Law

      A.    Legal Standard

            Federal Rule of Civil Procedure 50(a) permits a party to move for
            judgment as a matter of law after the close of evidence but before
            the case is submitted to a jury. Dupree v. Younger, 598 U.S. 729,
            731 (2023). “This standard largely ‘mirrors’ the summary-
            judgment standard, the difference being that district courts
            evaluate Rule 50(a) motions in light of the trial record rather
            than the discovery record.” Id. at 731–732. If the motion is
            denied, Rule 50(b) permits a renewed motion for judgment as a
            matter of law after the jury renders a verdict. Id. at 732.
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             The standard for overturning a jury verdict is “very high”; it
      requires a showing that there is no legally sufficient basis for a
      reasonable jury to find for the prevailing party on the challenged issue.
      Costa v. Desert Palace, Inc., 299 F.3d 838, 859 (9th Cir. 2002). The
      court must review all evidence in the record, drawing all reasonable
      inferences in favor of the nonmoving party, and may not make
      credibility determinations or weigh the evidence. Reeves v. Sanderson
      Plumbing Prod., Inc., 530 U.S. 133, 150 (2000). Because Rule 50(b)
      permits only a renewed motion, “[a] party cannot raise arguments in its
      post-trial motion for judgment as a matter of law under Rule 50(b) that
      it did not raise in its pre-verdict Rule 50(a) motion.” Freund v.
      Nycomed Amersham, 347 F.3d 752, 761 (9th Cir. 2003).

      B.    Substantial Similarity

            Sedlik asks the Court to displace the jury’s verdict on substantial
      similarity. The jury found that the Tattoo, the Sketch (Ex. 202), the
      “Messy Progress” Social Media Post (Exs. 207, 208), the Final Tattoo
      Social Media Post (Ex. 209, 210, 211, 214, 215, 216, 240, 242), the
      Instagram Story (Ex. 253), and the photo of KVD at the lightbox (Exs.
      338, 339) were not substantially similar to Sedlik’s photograph of Miles
      Davis (the Portrait). Dkt. 218.

            “A plaintiff bringing a claim for copyright infringement must
      demonstrate ‘(1) ownership of a valid copyright, and (2) copying of
      constituent elements of the work that are original.’” Funky Films, Inc.
      v. Time Warner Entm’t Co., L.P., 462 F.3d 1072, 1076 (9th Cir. 2006)
      (quoting Feist Publ’ns, Inc. v. Rural Tel. Serv. Co., 499 U.S. 340, 361
      (1991)), overruled on other grounds by Skidmore as Tr. For Randy
      Craig Wolfe Tr. v. Led Zeppelin, 952 F.3d 1051 (9th Cir. 2020). “[T]he
      second element has two distinct components: copying and unlawful
      appropriation.” Rentmeester v. Nike, Inc., 883 F.3d 1111, 1117 (9th
      Cir. 2018) (internal quotation marks omitted), overruled on other
      grounds by Skidmore, 952 F.3d 1051.

           To determine whether the defendant has engaged in unlawful
      appropriation, courts consider whether the alleged infringement is



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      “substantially similar” to the original. See Skidmore, 952 F.3d at 1064.
      The Ninth Circuit applies a two-part test to determine whether a
      defendant has engaged in unlawful appropriation: the extrinsic test
      and the intrinsic test, both of which must be satisfied. Id. The
      extrinsic test “compares the objective similarities of specific expressive
      elements in the two works,” distinguishing between the protected and
      unprotected material in a plaintiff’s work. Id. The intrinsic test
      considers “similarity of expression from the standpoint of the ordinary
      reasonable observer, with no expert assistance.” Id. (citing Jada Toys,
      Inc. v. Mattel, Inc., 518 F.3d 628, 637 (9th Cir. 2008)).

             “The intrinsic test requires a more holistic, subjective comparison
      of the works to determine whether they are substantially similar in
      ‘total concept and feel.’” Rentmeester, 883 F.3d at 1118. This Court
      has already concluded that a reasonable juror could find the two works
      different in total concept and feel. Dkt. 69 (Summ. J. Order) at 16. The
      Court must draw the reasonable inference that the jury did. Reeves,
      530 U.S. at 150 (all reasonable inferences must be drawn in favor of
      non-moving party).

            The Ninth Circuit has stated that “[i]t is not the courts’ place to
      substitute our evaluations for those of the jurors” in unlawful
      appropriation cases. Williams v. Gaye, 895 F.3d 1106, 1127 (9th Cir.
      2018) (citing Union Oil Co. of Cal. v. Terrible Herbst, Inc., 331 F.3d
      735, 743 (9th Cir. 2003)).1 The intrinsic test for unlawful appropriation



      1 It is true that in “exceptional cases,” both copying and unlawful

      appropriation may be decided as a matter of law. Unicolors, Inc. v. Urb.
      Outfitters, Inc., 853 F.3d 980, 986 (9th Cir. 2017). But this is not an
      exceptional case. It concerns a derivative work, which is the second most
      frequently discussed right in cases concerning substantial similarity
      analyses. Clark D. Asay, An Empirical Study of Copyright’s Substantial
      Similarity Test, 13 U.C. Irvine L. Rev. 35, 73 (2022). Here, there is direct
      evidence of copying. This is true of approximately 17% of cases where
      copying or unlawful appropriation are disputed. Id. at 78. And the contested
      issues in this case concern unlawful appropriation, which is true of most


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      is “‘uniquely suited for determination by the trier of fact’ because of its
      focus on the lay [person], and so ‘[a] court must be reluctant to reverse’
      a jury’s finding that two works are intrinsically similar.” Gray v.
      Hudson, 28 F.4th 87, 97 (9th Cir. 2022) (citing Sid & Marty Krofft
      Television Prods., Inc. v. McDonald’s Corp., 562 F.2d 1157, 1166 (9th
      Cir. 1977)). Persuading a court to second guess the jury’s application of
      the intrinsic test is a “significant, if not unsurmountable, hurdle[.]”
      Williams, 895 F.3d at 1127.

             Sedlik argues that he has satisfied the intrinsic test because
      Defendants have not presented any evidence showing that the works
      have a different total concept and feel. Dkt. 241 (Reply) 8. Sedlik cites
      trial testimony concerning the mood of the photograph and the Tattoo.
      Id. However, the entire point of the intrinsic test is that it is from the
      perspective of the ordinary person without expert assistance. The only
      evidence that a jury needs in order to apply the intrinsic test is the
      original work and the alleged infringement. Again, the Court must
      draw the reasonable inference that considering the works, the jury
      concluded that they had a different total concept and feel from the
      Portrait.2

            Sedlik also argues that application of the substantial similarity
      test was unnecessary because Defendants admitted to evidence of
      direct copying. For this principle he cites Norse v. Henry Holt & Co.,
      991 F.2d 563 (9th Cir. 1993) and Range Rd. Music, Inc. v. E. Coast
      Foods, Inc., 668 F.3d 1148 (9th Cir. 2012). Dkt. 234-1 (Mem.) 9. This is
      the fourth time that Sedlik has raised this argument, which is clearly
      contradicted by black letter copyright law. As explained above, the
      second prong of the infringement analysis contains two separate


      cases in the subject area. Id. at 40. The legal issues in this case are in many
      ways run of the mill.
      2 The Court has already explained that it found a triable issue of fact on this

      issue. Dkt. 69 (Summ. J. Order) at 16. Considering the two works, the Court
      finds that the jury’s verdict is also not against the clear weight of the
      evidence and a new trial is not warranted.



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      components: “copying” and “unlawful appropriation.” Skidmore, 952
      F.3d at 1064 (citing Rentmeester, 883 F.3d at 1117).

            Even “after proving that the defendant’s work is the product of
      copying rather than independent creation, the plaintiff must still show
      copying of protected expression that amounts to unlawful
      appropriation.” Rentmeester, 883 F.3d at 1124. “Proof of unlawful
      appropriation— that is, illicit copying—is necessary because copyright
      law does not forbid all copying.” Id. at 1117. “Unfortunately, . . . [the
      Ninth Circuit has] used the same term—’substantial similarity’—to
      describe both the degree of similarity relevant to proof of copying and
      the degree of similarity necessary to establish unlawful appropriation.”
      Id.

             Sedlik continues to confuse these two concepts. If copying is
      admitted, then there is no need to prove copying under the first prong
      of the infringement test. But it is still necessary to prove the second
      prong: unlawful appropriation. In both Norse and Range Road, it was
      indisputable that copyrightable original expression was used, and thus
      the second prong was satisfied. Norse concerned idiosyncratic phrases
      from unpublished letters, and Range Road concerned the public
      performance of copyrighted songs. Here, for several of the challenged
      uses (including the Tattoo), Defendants argue that the elements copied
      from the Portrait (such as Miles Davis’s face) are not copyrightable.
      The first prong was not in dispute, but the second prong was. The
      Court must draw the reasonable inference that the jury found that it
      was the unprotected elements of the Portrait that were copied.

      C.    Fair Use

             Sedlik also moves for judgment as a matter of law on the issue of
      fair use. Mem. at 17. Rule 50(b) allows for a renewed motion for a
      judgment as a matter of law after the entry of judgment. “As explicitly
      stated in the Rule, a Rule 50(b) motion may be considered only if a Rule
      50(a) motion for judgment as a matter of law has been previously
      made.” Tortu v. Las Vegas Metro. Police Dep’t, 556 F.3d 1075, 1081
      (9th Cir. 2009). Otherwise, the motion is not renewed.



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             “The purpose of this rule is twofold. First it preserves the
      sufficiency of the evidence as a question of law, allowing the district
      court to review its initial denial of judgment as a matter of law instead
      of forcing it to ‘engage in an impermissible reexamination of facts found
      by the jury.’” Freund, 347 F.3d at 761 (quoting Lifshitz v. Walter
      Drake & Sons, 806 F.2d 1426, 1428–29 (9th Cir.1986)). “Second, it calls
      to the court’s and the parties’ attention any alleged deficiencies in the
      evidence at a time when the opposing party still has an opportunity to
      correct them.” Freund, 347 F.3d at 761.

            At trial, Sedlik moved for a directed verdict only on substantial
      similarity, not fair use. Dkt. 237-1 (Ex. B) 467:6–13; Ex. C at 535:25–
      536:7. Sedlik argues that he has preserved the issue because he raised
      numerous objections to the jury instructions on substantive grounds.
      Reply at 12–13. “[A]n objection to a jury instruction on the ground that
      insufficient evidence was presented on an issue to allow it to be
      submitted to the jury may constitute a ‘sufficient approximation’ of a
      motion for a directed verdict to satisfy the requirements of Rule 50(b).”
      McClaran v. Plastic Indus., Inc., 97 F.3d 347, 360 (9th Cir. 1996)
      (quoting Farley Transp. Co. v. Santa Fe Trail Transp. Co., 786 F.2d
      1342, 1346–47 (9th Cir.1985)). However, Sedlik’s objections regarded
      the language of the instructions, and whether the jury should be
      instructed on the Court’s prior findings, not the sufficiency of the
      evidence. See infra II.C. Sedlik neither preserved the sufficiency of the
      evidence as an issue of law, nor gave Defendants fair notice to correct
      any alleged deficiencies in the evidence. Sedlik’s Rule 50(b) motion is
      “procedurally foreclosed” by his failure to file a Rule 50(a) motion.
      Tortu, 556 F.3d at 1083.

                           II. Motion for a New Trial

      A.    Legal Standard

            A court may grant a new trial under Federal Rule of Civil
      Procedure Rule 59 “for any of the reasons for which new trials have
      heretofore been granted in actions at law in the courts of the United
      States.” Fed. R. Civ. P. 59(a). These reasons, include, but are not



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      limited to, claims “that the verdict is against the weight of the
      evidence, that the damages are excessive, or that, for other reasons, the
      trial was not fair to the party moving.” Molski v. M.J. Cable, Inc., 481
      F.3d 724, 729 (9th Cir. 2007) (citation and quotation marks omitted). A
      new trial is appropriate where “the verdict is contrary to the clear
      weight of the evidence, is based upon false or perjurious evidence, or to
      prevent a miscarriage of justice.” Id. (citation and quotation marks
      omitted). On a motion for new trial, “the district court has ‘the duty . . .
      to weigh the evidence as the court saw it, and to set aside the verdict of
      the jury, even though supported by substantial evidence, where, in [the
      court’s] conscientious opinion, the verdict is contrary to the clear weight
      of the evidence.’” Id. (citation and quotation marks omitted).
      “However, a district court may not grant a new trial simply because it
      would have arrived at a different verdict.” Silver Sage Partners, Ltd. v.
      City of Desert Hot Springs, 251 F.3d 814, 819 (9th Cir. 2001).

      B.    Fair Use

            Sedlik contends that the jury’s verdict on fair use is against the
      clear weight of the evidence. The jury found that Defendants’
      reproduction of the Portrait on her social media was a fair use. Verdict
      at 3. The image determined to be a fair use depicts Kat von D inking
      the Tattoo with the Portrait in the background. Exs. 203, 204, 212,
      213. It was posted to several of Defendants’ social media pages. The
      Court need consider only whether the jury’s verdict is contrary to the
      clear weight of the evidence as to the social media posts, not the other
      uses that were not considered substantially similar.3



      3 The jury found that several exhibits were both not substantially similar and

      a fair use. This was contrary to the form’s instructions. Superfluous answers
      on a verdict form are to be disregarded. See Floyd v. L., 929 F.2d 1390, 1398
      (9th Cir. 1991). Sedlik argues that the findings that a work is “not
      substantially similar and fair use – [are] not inconsistent with each other
      because they [are] paths to the same result.” Reply at 14. The Court
      disagrees. Fair use is an affirmative defense; therefore, there must be a
      copyright infringement for the application of the doctrine. A finding that


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            Sedlik argues that that the jury’s finding of fair use is contrary to
      the clear weight of the evidence because the social media uses were not
      transformative, were commercial, and harmed the market for Sedlik’s
      photograph. Reply at 18–23. While the Court cannot read the jurors’
      minds, it is not persuaded that the clear weight of the evidence (and
      law) favors any of Sedlik’s positions.

             First, Sedlik argues that the social media post is not
      transformative because it does not target the original work itself. The
      Supreme Court has held that a work that targets another, such as
      criticism, commentary, and parody, is transformative because it needs
      to conjure up the other to make its point or fulfill its purpose. See
      Andy Warhol Found. for the Visual Arts, Inc. v. Goldsmith, 598 U.S.
      508, 530 (2023). However, targeting is not required. Id. at 547 n.21.
      The Supreme Court noted in Warhol that the proponent of a fair use
      defense must either show that they targeted the original work or offer
      another “compelling justification for the use.” Id. at 540.

             In Kelley v. Morning Bee, Inc., No. 1:21-CV-8420-GHW, 2023 WL
      6276690, at *12 (S.D.N.Y. Sept. 26, 2023), the district court found that
      the incidental appearance of copyrighted images in the background of a
      documentary about Billy Eilish was a transformative use of the images.
      The court reasoned that “the momentary and incidental depiction of
      Plaintiff’s photographs in the documentary-style Film (sic) comprises ‘a
      transformative purpose of enhancing the biographical story, a purpose
      separate and distinct from the original artistic and promotional
      purpose for which the images were created.’” Kelley, 2023 WL 6276690
      at *12 (quoting Bill Graham Archives v. Dorling Kindersley Ltd., 448
      F.3d 605, 609 (2d Cir. 2006)) (simplified). Similarly, Defendants’ social
      media posts have the biographical purpose of documenting Kat von D’s
      life and creative process. This purpose is distinct from the original




      there is no substantial similarity is a finding that there was no infringement,
      so the fair use doctrine is inapplicable.



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      artistic and commercial purposes of the Portrait.4 However, Sedlik’s
      contention that targeting is required is false as a matter of law. As
      discussed above, it may be a sufficient condition for fair use, but it is
      not a necessary condition.

             But even if the jury found that the social media posts were not
      transformative, they still could have found that evidence of non-
      commerciality tipped the first factor (and perhaps all of the factors)
      towards fair use. The Supreme Court has stated that “[t]here is no
      doubt that a finding that copying was not commercial in nature tips the
      scales in favor of fair use.” Google LLC v. Oracle Am., Inc., 593 U.S. 1,
      32 (2021). Citing Worldwide Church. Worldwide Church of God v.
      Philadelphia Church of God, Inc., 227 F.3d 1110, 1117 (9th Cir. 2000),
      Sedlik argues that the social media posts were “a paradigmatic
      commercial use.” Reply at 20. But a paradigmatic commercial use is
      surely one where copyrighted material is exploited for monetary profit.
      None of the posts included a link to purchase anything. And testimony
      at trial revealed that the posts did not generate any sort of direct profit.
      Dkt. 231-1 (Ex. C) 520:11–521:8.

             It is true that “the crux of the profit/nonprofit distinction is not
      whether the sole motive of the use is monetary gain but whether the
      user stands to profit from exploitation of the copyrighted material
      without paying the customary price[.]” Harper & Row Publishers, Inc.
      v. Nation Enterprises, 471 U.S. 539, 562 (1985). However, construing
      the term “profit” too broadly would render everything commercial. Not
      all social media posts are for profit. See Bell v. Moawad Grp., LLC, 326
      F. Supp. 3d 918, 926 (D. Ariz. Sept. 4, 2018) (finding a genuine dispute
      of fact as to whether infringing social media post was non-commercial
      inspirational information or marketing); see also Hannley v. Mann, No.
      2:21-CV-02043-JLS, 2023 WL 3407183, at *4 (C.D. Cal. Mar. 8, 2023)


      4 One could argue that the social media posts actually did target the Portrait,

      because including the Portrait was necessary to make the social media post’s
      point, which was to show Kat von D’s use of source material to create a tattoo
      and her prowess in replication.



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   (finding use non-commercial where there is no evidence that the
   Twitter, website, or Youtube pages generated any profits); but see
   Northland Fam. Plan. Clinic, Inc. v. Ctr. for Bio-Ethical Reform, 868 F.
   Supp. 2d 962, 979 (C.D. Cal. 2012) (“Generating traffic to one’s website
   or conveying one’s message effectively using copyrighted material is
   within the type of ‘profit’ contemplated by Worldwide Church.”).
   Whether an infringing social media post that generates no-direct
   revenue is a commercial use is a fact-sensitive inquiry. This case is
   admittedly a close call, which is why it was sent to a jury. However,
   the clear weight of the evidence does not allow the Court to disturb the
   jury’s verdict and grant a new trial.

         Finally, Sedlik argues that the social media posts harmed the
   market for his photograph license. Reply at 22. The fourth fair use
   factor requires the jury “to consider not only the extent of market harm
   caused by the particular actions of the alleged infringer, but also
   whether unrestricted and widespread conduct of the sort engaged in by
   the defendant would result in a substantially adverse impact on the
   potential market for the original.” Campbell v. Acuff-Rose Music, Inc.,
   510 U.S. 569, 590 (1994). Sedlik does not contend that the social media
   posts served as a direct market substitute for the Portrait (nor could
   he), but instead argues that they harm a potential licensing market for
   him. Reply at 22.

          “[I]t is a given in every fair use case that plaintiff suffers a loss of
   a potential market if that potential is defined as the theoretical market
   for licensing the very use at bar.” Tresona Multimedia, LLC v.
   Burbank High Sch. Vocal Music Ass’n, 953 F.3d 638, 652 (9th Cir.
   2020) (quoting 4 Nimmer § 13.05[A][4]). “However, a copyright holder
   cannot prevent others from entering fair use markets merely ‘by
   developing or licensing’” other markets. Tresona, 953 F.3d at 652
   (quoting Bill Graham Archives, 448 F.3d at 614–15).

         Sedlik offered evidence of licenses for sculptures, paintings, t-
   shirts and even tattoos (albeit for $0). Dkt 241-2 (Ex. A) 175:17-21,
   176:6-20, 202:8-13. However, Sedlik never offered any evidence of a
   license for a social media post. None of the licenses offered by Sedlik


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   are quite analogous to the use at bar, which reproduces the Portrait to
   document Kat von D’s process in creating a tattoo. Defining the scope of
   this potential market is difficult. But the jury could have reasonably
   concluded based on the evidence that the social media posts did not
   displace a potential market for Sedlik.

         In conclusion, under the existing state of the law, the jury could
   have reasonably concluded that factors one and four favor fair use.
   Therefore, the finding of fair use was not against the clear weight of the
   evidence. See Lucasfilm Ltd. LLC v. Ren Ventures Ltd., No. 17-CV-
   07249-RS, 2018 WL 5310831, at *6 (N.D. Cal. June 29, 2018) (“[C]ourts
   often give more weight to the first and fourth factors of the fair use test
   because they are more closely related to incentivizing the creation of
   new arts[.]”).

   C.    Jury Instructions

          Sedlik also contends that Jury Instruction Nos. 24, 25, and 27
   were misleading and incorrectly stated the law. Mem. at 15–16. “Jury
   instructions must fairly and adequately cover the issues presented,
   must correctly state the law, and must not be misleading.” White v.
   Ford Motor Co., 312 F.3d 998, 1012 (9th Cir. 2002). An erroneous jury
   instruction may warrant a new trial unless the error was harmless.
   Madrigal v. Allstate Ins. Co., 215 F. Supp. 3d 870, 908 (C.D. Cal. May
   19, 2016). “In evaluating jury instructions, prejudicial error results
   when, looking to the instructions as a whole, the substance of the
   applicable law was not fairly and correctly covered.” Swinton v.
   Potomac Corp., 270 F.3d 794, 802 (9th Cir. 2001) (simplified). A new
   trial should be ordered “only if the jury’s understanding of the issues
   was seriously affected to the prejudice of the complaining party.”
   Havoco of Am., Ltd. v. Sumitomo Corp. of Am., 971 F.2d 1332, 1343
   (7th Cir. 1992) (citing Simmons, Inc. v. Pinkerton’s, Inc., 762 F.2d 591,
   597 (7th Cir. 1985)).

         Sedlik argues that Jury Instruction Nos. 24 and 25 were incorrect
   as a matter of law because the court failed to instruct the jury that it




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   had previously found that factors two and three weigh against fair use.
   Reply at 16. Jury Instruction No. 24 states:

         The second fair use factor is the nature of the copyrighted work.
         Copyrighted works that are creative in nature are more
         protected. It is agreed that the Miles Davis Photo is creative in
         nature, and therefore this factor is more likely to weigh against
         fair use.

   Dkt. 219 at 29. Sedlik does not contend that this is an inaccurate
   statement of law. Rather, he argues that the jury should have been
   told that the second factor does weigh against fair use, rather than is
   “more likely to weigh against fair use.” Id. The Court finds that the
   applicable law was fairly and correctly covered here, and that the jury’s
   understanding of the issues would not have been seriously affected by
   changing “more likely” to “does.”

         Jury Instruction No. 25 states:

         The third fair use factor is the amount and substantiality of the
         portion used in relationship to the copyrighted work as a whole.
         This factor looks to the amount of the original work used and the
         importance of the portion copied.

         When an accused work copies little of the original work, this
         factor weighs in favor of fair use. When an accused work copies
         most of the original work or its most important parts, then this
         factor more likely weighs against fair use. If the secondary user
         copies only as much as is necessary for a transformative use, then
         this factor will not weigh against fair use.

   Dkt. 219 at 30. Again, Sedlik does not contend that “the substance of
   the applicable law was not fairly and correctly covered.” Swinton, 270
   F.3d at 802. Instead, he argues that the Court should have told the
   jury that it found the third factor to favor Sedlik in its summary
   judgment and reconsideration orders.

         An instruction that the Court had already considered and made a
   finding on the third factor would not have seriously affected the jury’s


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   understanding of the substance of the third factor. Moreover, the Court
   was concerned that instructing the jury on its prior rulings would
   confuse the jury and prevent them from weighing all of the factors, as
   is required by section 17 U.S.C. 107. It is firmly within the district
   court’s discretion to forego “potentially confusing jury instructions and
   information regarding the procedural history of the case.” Fryar v.
   Curtis, 485 F.3d 179, 183 (1st Cir. 2007). An instruction that the third
   factor favored fair use would not have seriously affected the jury’s
   verdict because Defendants conceded that the factor weighed against
   fair use in their closing argument. Dkt. 237-1 (Ex. D) 681:6–15.

          Similarly, instruction No. 27, that the jury weigh all relevant
   factors, was also not prejudicial to Sedlik. Sedlik does not argue that
   this instruction was an inaccurate statement of law. He argues that
   the jury should have been told about the Court’s prior findings
   regarding the second and third factors. The jury was accurately
   informed of the law. The jury was told that the second factor likely
   weighed against fair use. And Defendants conceded in their closing
   argument that the third factor weighed against fair use. The decision
   not to explain the Court’s prior findings to the jury was firmly within
   the Court’s discretion and did not prejudice Sedlik.

         Finally, Sedlik argues that the issue of fair use should not have
   been put to the jury at all. Mem. at 17. He cites Google LLC v. Oracle
   Am., Inc., 593 U.S. 1, 24 (2021) for the proposition that fair use is a
   mixed question of fact and law. The factual issues should be
   determined by a jury, and the legal questions should be decided by a
   judge. Id. However, this is the first time that Sedlik, or any party, has
   raised this argument.

          “One who by his conduct induces the commission of some error by
   the trial court, or, in other words, who has invited error, is estopped
   from insisting that the action of the court is erroneous[.]” Deland v.
   Old Republic Life Ins. Co., 758 F.2d 1331, 1336 (9th Cir. 1985). Sedlik
   “had no objection to submission of this issue to a jury” prior to the jury’s
   verdict against him. Deland, 758 F.2d at 1337. Actually, Sedlik
   represented to the Court that “the last time the Supreme Court


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   addressed this issue, which is Oracle v. Google, the [Supreme Court
   decided the] jury is entitled to make the determination of fair use.”5
   Sedlik was intimately involved in the drafting of the jury instructions
   and the verdict form. Never once did he suggest that the issue of fair
   use was not fit for a jury, or that the Court should bifurcate the verdict
   between factual and legal issues. Sedlik went “beyond mere
   acquiescence” and invited this purported error. Deland, 758 F.2d at
   1337. He cannot now ask for a second bifurcated or bench trial because
   the jury trial that he demanded did not go as planned.

                                 III. Conclusion

         For the reasons stated above, the motions are DENIED.




         IT IS SO ORDERED.



    Date: May 3, 2024                      ___________________________
                                           Dale S. Fischer
                                           United States District Judge




   5 That this was done by Sedlik’s prior counsel is immaterial. “Petitioner

   voluntarily chose this attorney as his representative in the action, and he
   cannot now avoid the consequences of the acts or omissions of this freely
   selected agent. Any other notion would be wholly inconsistent with our
   system of representative litigation, in which each party is deemed bound by
   the acts of his lawyer-agent[.]” Link v. Wabash R. Co., 370 U.S. 626, 633–34,
   (1962).



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